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                                         Barry Goldberg, P.C.
                                             Attorney at Law
                                         11 Park Place, Suite 1005
                                     New York, New York 10007
                                          (212) 269-2363
June 23, 2023

Honorable Edgardo Ramos
United States District Judge
Southern District of New York
Thurgood Marshall US Courthouse
40 Foley Square
New York, NY                                                         VIA ECF

       Re: United States vs. Michols Pena
            20-CR-600 (ER)

Dear Judge Ramos:

       As the court is aware, I represent the above-referenced defendant. Mr. Pena is scheduled
to be sentenced on June 28, 2023. Please be advised that I have been notified by Mr. Pena that
he no longer wishes for me to represent him. My understanding is that he will be hiring new
counsel. Accordingly, please adjourn this sentencing for 30 days in order to allow Mr. Pena to
obtain new counsel.
       Thank you for your anticipated cooperation in this matter. If you have any questions
please feel free to contact my office.


Yours Truly,
s/Barry Goldberg
Barry Goldberg, Esq.                                                 SO ORDERED:



                                                                     _____________________________
                                                                       Honorable Edgar Ramos
